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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JOHN HART,                                        Case No. 2:13-cv-06662-JDW

                 Plaintiff,

        v.

 STEVEN PARKINSON, Individually and In
 His Official Capacity As A Detective For
 The City Of Philadelphia Police
 Department, et al.,

                 Defendants.



                                             ORDER

       AND NOW, this 13th day of February, 2023, upon consideration of Defendants

Detective Steven Parkinson and Detective Kathryn Gordon’s (“Defendants”) Motion To

Dismiss For Failure To State A Claim (ECF No. 37), the Court notes as follows:

       1.       A district court may dismiss a complaint for failure to state a claim upon

which relief can be granted. See Fed. R. Civ. P. 12(b)(6). Rather than require detailed

pleadings, the “Rules demand only a short and plain statement of the claim showing that

the pleader is entitled to relief[.]” Connelly v. Lane Const. Corp., 809 F.3d 780, 786 (3d Cir.

2016) (quotation omitted). “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its

face.” Id. (same). A claim has facial plausibility when the complaint contains factual
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allegations that permit the court “to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id. (same). In doing so, the court must “draw on its

judicial experience and common sense.” Id. (same). Only one of Plaintiff John Hart’s claims

meets that burden.

       2.       To “recover damages for allegedly unconstitutional conviction or

imprisonment, or for other harm caused by actions whose unlawfulness would render a

conviction or sentence invalid, a § 1983 plaintiff must prove that the conviction or

sentence has been reversed on direct appeal, expunged by executive order, declared

invalid by a state tribunal authorized to make such determination, or called into question

by a federal court’s issuance of a writ of habeas corpus.” Heck v. Humphrey, 512 U.S. 477,

486-87 (1994). The holding in Heck bars most of Mr. Hart ‘s § 1983 claims because a

judgment in his favor “would necessarily imply the invalidity of his conviction or sentence.”

Id. at 487.

       3.       First, Mr. Hart claims that Detective Parkinson violated the Fourth, Sixth,

Ninth, and Fourteenth Amendment when he didn’t turn over exculpatory evidence in his

possession. Although the Brady duty applies only to prosecutors, “police officers and

other state actors may be liable under § 1983 for failing to disclose exculpatory

information to the prosecutor.” Yarris v. Cnty. of Del., 465 F.3d 129, 141 (3d Cir. 2006)

(citations omitted). Meritorious Brady-esque claims under § 1983 challenge the validity of

an underlying criminal conviction because Brady only applies if the evidence was material


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to the determination of guilt. See United States v. Lacerda, 958 F.3d 196, 218-19 (3d Cir.

2020). Therefore, the Heck decision bars Mr. Hart’s claim based on the alleged withholding

of exculpatory evidence. See also Dukes v. Pappas, 405 Fed. Appx. 666, 668 (3d Cir. 2010)

(§ 1983 claim for withholding evidence “by definition, implies the invalidity of the

attendant criminal conviction”).

       4.       Second, Mr. Hart brings two Fourth Amendment claims. “[A] determination

of whether Heck applies to a Fourth Amendment claim requires a case-by-case fact-based

inquiry into whether the claim implies the invalidity of the underlying conviction or

sentence.” Mills v. Pivot Occupational Health, No. 22-1817, 2022 WL 17984476 at *1 (3d

Cir. Dec. 29, 2022) (citing Gibson v. Superintendent of N.J. Dep’t L. & Pub. Safety, 411 F.3d

427, 447-49 (3d Cir. 2005)). Therefore, the Court must examine whether for Mr. Hart to

prevail on each those claims he must undermine his criminal conviction.

       5.       The first claim is that Detective Parkinson violated Mr. Hart’s Fourth

Amendment right to be free from unreasonable seizures by “using illegal and unduly

suggestive tactics in order to obtain probable cause to arrest Plaintiff for crimes that he

did not commit.” (ECF No. 36 at ¶ 36.) The Court reads this claim as a Fourth Amendment

claim for malicious prosecution. To prevail Mr. Hart must show a favorable termination of

the underlying criminal case. See Thompson v. Clark, 142 S. Ct. 1332,1338 (2022). He can’t,

so this claim fails.




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       6.       As Mr. Hart points out, one Defendant, Michael Sander, has not appeared

in this case and was not a party to this Motion. It’s unclear whether Mr. Hart properly

served Mr. Sander at all, let alone with the Amended Complaint. In any event, the only

claim against Mr. Sander in the Amended Complaint is for violating the Fourth

Amendment by “identifying Plaintiff through false testimony . . . So that Plaintiff would be

arrested and incarcerated for crimes that he did not commit.” (ECF No. 36 ¶ 39.) For the

same reasons stated above, this is substantively a malicious prosecution claim and cannot

survive as a matter of law given Mr. Hart’s conviction. Therefore, the Court will dismiss it.

       7.       Heck does not bar Mr. Hart’s second Fourth Amendment claim for the

search of his electronic devices. See Heck, 523 U.S. at 487 n.7 (distinguishing §1983 suits

for unreasonable searches so long as admitting evidence from that search would

constitute harmless error). Mr. Hart alleges those searches did not yield anything useful

in the police investigation. Therefore, a challenge to that search would not necessarily

undermine his conviction. Therefore, he may pursue his Fourth Amendment claim on that

ground.

       8.       Count II of the Amended Complaint is titled “malicious prosecution.” Mr.

Hart admits that he can’t sustain a claim for malicious prosecution because of his

conviction but says it was erroneously labeled. He requests leave to amend Count II to

allege “malicious abuse of process.” But amending is futile because he can’t state a

successful abuse of process claim. Abuse of process “lies where prosecution is initiated


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legitimately and thereafter used for a purpose other than that intended by law.” Rose v.

Bartle, 871 F.2d 331, 350 n.17 (3d Cir. 1989) (citations omitted). “The gist of an action for

abuse of process is the improper use of process . . . that is, a perversion of it.” Gen.

Refractories Co. v. Fireman’s Fund Ins. Co., 337 F.3d 297, 304 (3d Cir. 2003) (citations

omitted). The legal process is perverted only when “the utilization of the procedure for

the purpose for which it was designed becomes so lacking in justification as to lose its

legitimate function as a reasonably justifiable litigation procedure.” Id. at 308. Allegedly

overbroad searches that did not affect the outcome of the underlying criminal conviction

can’t satisfy that standard. And if Mr. Hart’s claim is that the searches did create an

illegitimate or coerced outcome, to prevail would undermine his conviction, and it’s

barred by Heck.

       Therefore, it is ORDERED as follows:

       1.       Defendants’ Motion To Dismiss For Failure To State A Claim (ECF No. 37) is

GRANTED IN PART and DENIED IN PART:

                a.   The Motion is DENIED as to Mr. Hart’s Fourth Amendment claims in

                Count I pertaining to the search of his desktop, laptop and iPhone by

                Detectives Parkinson and Gordon;

                b.    The Motion is GRANTED as to all other claims;

       2.       The claims against Mr. Sander are DISMISSED;




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        3.       Mr. Hart’s request to file a second Amended Complaint is DENIED because

any amendment would be futile in light of the Court’s analysis;

        4.       The deadlines in the Court’s Scheduling Order (ECF No. 29) are VACATED;

        5.       The Parties shall complete discovery by April 14, 2023;

        6.       Motions for summary judgment, if any, shall be filed on or before May 19,

2023.

                                                   BY THE COURT:


                                                   /s/ Joshua D. Wolson
                                                   JOSHUA D. WOLSON, J.




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